Dear Auditor Montee:
This office received your letter of March 12, 2009, submitting a fiscal note and fiscal note summary prepared under Section 116.175, RSMo, for an initiative petition (version 2) submitted by Todd Jones regarding a proposed constitutional amendment related to Article III. The fiscal note summary that you submitted is as follows:
This proposal could have a significant negative fiscal impact on state and local governmental entities. Federal grants to state governmental entities for research programs may be in jeopardy. The total costs to state and local governmental entities are unknown.
Under Section 116.175.4, RSMo, we approve the legal content and form of the fiscal note summary. Because our review of the fiscal note summary is mandated by statute, no action that we take with respect to such review should be construed as an endorsement of the petition or as the expression of any view regarding the objectives of its proponents.
Very truly yours,
                                       _________________________ CHRIS KOSTER Attorney General *Page 1 